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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                     December 9, 2020


BY ECF

The Honorable Andrew L. Carter, Jr.
United States District Court Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Reginald Fowler, S3 19 Cr. 254 (ALC)

Dear Judge Carter:

       The Government writes in response to the Motions to Withdraw as Counsel (the “Motions
to Withdraw,” Dkt. Nos. 69, 72, and 76) filed by the two firms currently representing defendant
Reginald Fowler. Based on the facts set forth in the Motions, the Government agrees that defense
counsel has a conflict that permits them to withdraw from the current representation. 1

        However, the Government opposes any adjournment of the current trial date resulting from
the evident false representations by Fowler to his counsel necessitating the need for substitution
of counsel. The defendant’s failure to pay his legal fees after making a series of increasingly
incredible assertions regarding the availability and source of his funds is a problem of this
defendant’s own creation. Indeed, Fowler has been on notice since at least in or about February
2020 that his counsel was contemplating withdrawing from this representation based on his non-
payment of legal fees. Rather than address that problem candidly, Fowler engaged in the conduct
described in counsel’s prior filings.

        As the Court is well aware, in January 2020 this matter was set for a jury trial beginning
April 28, 2020. Following the defendant’s arraignment on a superseding indictment in March
2020, the trial was adjourned to January 11, 2021. In October 2020, the defense, without noting
for the Court the then already well-developed fee dispute, moved to adjourn the trial date over the
Government’s objection, and an adjournment was granted to April 12, 2021.


1The declarations submitted by counsel in support of their Motions to Withdraw also raise the
question of whether the defendant, who has apparently made recent significant payments to
counsel other than his current criminal attorneys, would financially qualify for a court-appointed
attorney. The Government defers to the Court with respect to that issue.
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        The current trial date is approximately four months away. The defendant’s failure since at
least February 2020 to pay his legal fees or to retain new counsel in this matter should not
provide a basis for yet another delay of the current trial date when the four months remaining
until that time should afford new counsel an adequate opportunity to prepare the defense in this
case.


                                                    Respectfully submitted,
                                                    AUDREY STRAUSS
                                                    Acting United States Attorney

                                             By:    _/s/___________________________
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cc:    Defense counsel of record (by ECF)
